                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:15-CR-212-FDW-DSC


 UNITED STATES OF AMERICA                      )
                                               )
                                               )
                                               )
 v.                                            )         ORDER TO UNSEAL
                                               )
      1) JONATHAN FERNANDEZ                    )
      2) YAMPIER DUARTE LAITANO                )
      3) CARLOS FERRAT-GUTIERREZ               )
      4) STEVEN BLANCO VARGAS                  )
      5) BRIGITTE FERRAT                       )
      6) CHRIS JERILEE ARTAVIA-                )
         MASIS                                 )
                                               )
                Defendants.                    )



        UPON MOTION of the Government and for the reasons given, IT IS HEREBY

ORDERED that the Indictment and Arrest Warrants in the above-named matter be unsealed.


        SO ORDERED.



                               Signed: March 21, 2016




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